












Dismissed and Memorandum Opinion filed March 11, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-00676-CR

____________

&nbsp;

KELECHI UWALAKA, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 176th District Court

Harris County, Texas

Trial Court Cause No. 1195257

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

A written request to withdraw the notice of appeal,
personally signed by appellant, has been filed with this Court. See Tex.
R. App. P. 42.2. Because this court
has not issued an opinion, we grant appellant=s request.

Accordingly, we order the appeal dismissed. We direct the
Clerk of the court to issue the mandate of the court immediately.

PER CURIAM

Panel
consists of Chief Justice Hedges and Justices Anderson and Christopher.

Do not
publish C Tex. R. App. P. 47.2(b).





